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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

CECILIA PARADA,                                    §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §    CIVIL ACTION NO. 3:21-cv-195
                                                   §
SANDHILL SHORES PROPERTY                           §
OWNERS ASSOCIATION, INC.,                          §
                                                   §
         Defendant.                                §
                                                   §

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Cecilia Parada and Defendant Sandhill Shores Property Owners Association,

Inc., (collectively, the “Parties”) hereby submit their Stipulation of Dismissal with Prejudice

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and would respectfully show the Court as follows:

         (1) Plaintiff filed her Complaint in the above-captioned litigation on or about July 29,

2021.

         (2) Defendant filed an Answer to the Complaint on or about October 12, 2021.

         (3) The Parties reached a settlement agreement calling for dismissal with prejudice on or

about June 17, 2022.

         In light of the foregoing, the Parties file this Stipulation of Dismissal with Prejudice

whereby Plaintiff dismisses all claims asserted in this matter with prejudice.




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DATE: June 23, 2022                                       Respectfully submitted,

                                                          s/_Mark Whitburn___________
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                                                          Attorneys for Plaintiff


                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on the following counsel for

Defendant by electronic mail on June 23, 2022:

David L. Miller
Diane Burgess
Miller, Scamardi & Carrabba, P.C.
6525 Washington Avenue
Houston, Texas 77007

                                                          s/_Mark Whitburn___________
                                                          Mark Whitburn




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